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                        IN THE UNITED STATES DISTRICT COURT
                   FOR THE NORTHERN DISTRICT OF CALIF'ORIIIA

                                     OAKLAND DIVISION


Christopher Corcoran, et al.,                          Case   No. 1 5-cv-03504-YGR

                                                       CLASS ACTION
              Plaintiffs,
                                                      DECLARATION OF G. WILLIAM
                                                      STREIN


CVS Pharmacy, Inc




               Defendant.



        I, G. William Strein, pursuant to 28 U.S.C . ç 1746, hereby affrrm that I am over 18 years
of age and competent to make the following Declaration.

Personal Background

l.   I have been retired since 2013. I worked almost my entire 45-year professional career as a
     pharmacist with 13 years of my finalworking years in the pharmacy benefit management
     ("PBM") industry. Since retiring, I have done consulting work for the PBM and pharmacy
     industries. I have not done, and am not doing currently, consulting engagements for CVS
     Pharmacy, Inc. ("CVS").

2.   From 2008 through 2012,1was Vice President, Provider Relations at Medco Health
     Solutions, Inc. ("Medco" or the "Company"). Prior to becoming Vice President, Provider
     Relations for Medco, I held the following positions within the Company: Senior Director,
     Provider Relations since 1999.

3.   In my capacity as Vice President at Medco, I was responsible for, among other things,
     negotiating PBM contracts with pharmacies and representation for Medco at state and
     national professional pharmacy organizations, network pharmacy communications; policy
     development; dispute resolution and regulatory input at local, state, and national levels as
     well as indirect suppoft for Audit and Finance on network pharmacy matters.
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o'Usual and Customary" Price

4.   The usual and customary ("U&.C") price is generally a term defined in a contract or provider
     manual. Medco's 2009 Pharmacy Services Manual, finalized in or around November 2008,
     defined the U&C price as:

               The lowest net price a cash patient or customer would have paid
               the day the prescription was dispensed, inclusive of all applicable
               discounts. These discounts include, but are not limited to, senior
               citizen discounts, "loss leaders" frequent shopper or special
               customer discounts, competitor's matched price, and other
               discounts offered to customers, including but not limited to buyer's
               clubs with nominal membership fees, discount buying cards and
               programs.

     2009 Pharmacy Services Manual at 69.

5.   In the next edition of the Pharmacy Services Manual (the 2009/201 0 Pharmacy Services
     Manual), Medco revised its definition of U&C to mean "the lowest net cash price a cash
     patient or customer would have paid the day the prescription was dispensed, inclusive of all
     applicable discounts." 200912010 Pharmacy Services Manual at 86.

Pharmacy Discount Generic Programs

6.   In late 2006, Walmart announced its "$4 generics" list, which offered all Walmart pharmacy
     customers a set list of generic medications for $4 for a 30-day supply. This announcement
     received significant attention in the insurance, pharmacy, and PBM industries.

7.   I recall discussing Walmart's program with my colleagues at Medco. We determined that
     Walmart's $4 price list constituted the U&C prices for those medications, because Walmart
     charged those prices to every Walmart customer. We took the same approach to similar
     price lists charged by other pharmacies to each of their customers, i.e., that these prices set
     by a pharmacy, and communicated via a defined listing of specific medications, constituted
     that pharmacy's U&C price for each medication.

8.   In the years following Walmart's announcement, it came to Medco's attention from a variety
     of sources (e.g., network pharmacies, Medco's clients, our audit department) that some
     pharmacy chains and retailers were introducing membership-based programs that provided
     customers with special pricing on set lists of generic medications. Unlike Walmart, these
     pharmacies required customers to opt into, or enroll in, a program and pay a membership fee
     in order to access the special pricing.

9.   Upon learning of these programs, my colleagues and I considered whether membership
     programs in any way affected the U&C price our pharmacies were required to include in
     each claim submitted by the pharmacy to Medco for payment by Medco to the pharmacy. I
     recall discussing this issue with a number of colleagues, including at a minimum Laizer
     Kornwasser, Franceen Spadaccino, and Calvin Corum, as well as in-house lawyers for
     Medco. We determined that Medco's defìnition of "usual and customary" in its Pharmacy

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      Services Manual did not encompass membership program prices. We viewed program
      members - particularly where program members had paid a membership fee to access the
      pharmacy's special pricing - as separate and distinct from "cash customers" who paid the
      pharmacy's retail price. We communicated Medco's position to the various pharmacies that
      had membership programs.

10. While at Medco,   I was aware that CVS offered a program called "Health Savings Pass"
      ("HSP"), which allowed members to purchase generic medications for a set price. I learned
      about HSP around the same time I learned about        armacies' membership programs.

I   l. I understood that CVS requiredHSP mem        to affirmatively opt into the program and pay
      a membership fee in order to access the pro     pricing. I further understood that CVS
      enforced the membership fee and did not routinely waive it. Based on my understanding
      the program, CVS was not required to submit the HSP price as its U&C price on Medco
      claims.

12. The    U&C definition in Medco's 2009 Pharmacy Services Manual included the phrase
      o'buyer's
               clubs with nominal membership fees, discount buying cards and programs." 2009
      Pharmacy Services Manual at 69. I recall discussing the meaning of "nominal" with my
      colleagues in late 2008 or early 2009. We decided not to designate any particular dollar
      amount as "nominal" because what is "nominal" is subjective and could vary by geographic
      market area. I recall removing the reference to "nominal" fees from the next version of the
      Pharmacy Services Manualto simply acknowledge that individual business practices would
      establish a chain-specific membership fee based on the pharmacy's local markets and that
      Medco, as a one of several payors, could not define membership fees appropriate to all
      membership programs.

13.   After Medco changed the U&C definition, it read as follows in the subsequent Pharmacy
      Serv ices Manuals (2009 /20 | 0, 20 | l, and 2012 editions) :

                  The lowest net cash price a cash patient or customer would have
                  paid the day the prescription was dispensed, inclusive of all
                  applicable discounts.

      200912010 Pharmacy Services Manual at86;2011 Pharmacy Services Manual at94;2012
      Pharmacy Services Manual at 96. Under this definition, Medco did not consider membership
      program prices to be "applicable discounts" to cash customers because pharmacies with a
      membership program required customers to pay a membership fee before they could access
      the program's special pricing.

DATED: November 18, 2016
                                            G,rfS+,.---
                                               G. William Strein




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